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                      IN THE UNITED STATES COURT OF APPEALS

                               FOR THE ELEVENTH CIRCUIT


                                         No. 22-11826-HH

MATTHEW WHITEST, et al.,

                                                                     Plaintiff,

CRANDALL POSTELL,

                                                                     Plaintiff - Appellant,

                                               versus

CRISP COUNTY SCHOOL DISTRICT,
BECKY PERKINS,
in her official capacity as Elections' Supervisor
of the Crisp County Board of Elections and
Registration,
JUSTIN POSEY,
in his official capacity as a member of the
Crisp County Board of Education,
DR ELIZABETH MADDOX,
in her official capacity as a member of the
Crisp County Board of Education,
LELEE PHINNEY,
in her official capacity as a member of the
Board of Education of Crisp County, et al.,

                                                                       Defendants - Appellees.
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                     On Appeal from the United States District Court for the
                                  Middle District of Georgia
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BEFORE: ROSENBAUM and BRASHER, Circuit Judges.

BY THE COURT:

       “Appellant Crandall Postell’s Motion to Set Aside Dismissal and Remedy the Default” is
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GRANTED. The parties have fourteen (14) days from the date of this order to file a notice with

the Clerk specifying which motions mooted by the dismissal of this appeal, if any, are to be

renewed. The time for filing a response to any renewed motion runs from the date the opposing

party’s notice is docketed. Parties seeking to renew a motion after the 14-day renewal period

expires will be required to refile the motion.




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